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 5
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 6
 7
                                   UNITED STATES DISTRICT COURT
 8
                                  CENTRAL DISTRICT OF CALIFORNIA
 9
       CARL CURTIS, an individual;                 )     Case No.: 2:15-cv-02480
10                                                 )
       ARTHUR WILLIAMS, an individual,             )
11                                                 )
                    Plaintiffs,                    )
12                                                 )
                                                   )     NOTICE REGARDING FILING OF
13           v.                                    )     FIRST AMENDED COMPLAINT
                                                   )
14                                                 )
       IRWIN INDUSTRIES, INC., a                   )
15     California corporation; and DOES 1          )
       through 100, inclusive,                     )
16                                                 )
                                                   )
17                  Defendants.                    )
                                                   )
18                                                 )
                                                   )
19                                                 )
                                                   )
20                                                 )
                                                   )     [Complaint filed: February 17, 2015]
21                                                 )
22     TO THE COURT AND ALL COUNSEL OF RECORD:
23           PLEASE TAKE NOTICE that Plaintiffs CARL CURTIS and ARTHUR
24     WILLIAMS (collectively “Plaintiffs”) hereby files the following notice regarding the
25     filing of a First Amended Complaint filed by Plaintiffs:
26           1. Defendant removed this action to federal court on April 3, 2015.
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                                                   1
                           NOTICE REGARDING FILING OF FIRST AMENDED COMPLAINT
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 1           2. Prior to the removal, Plaintiffs filed a First Amended Complaint (“FAC”) in
 2              Superior Court of the State of California, County of Santa Barbara. The date
 3              of filing was April 1, 2015.
 4           3. The FAC was not served on Defendant prior to the removal and Defendant
 5              was unaware of its existence at the time of the removal. The FAC was served
 6              on Defendant on April 6, 2015 by U.S. Mail.
 7           4. A true and correct copy of the FAC, which is now the operative complaint, is
 8              attached as Exhibit 1.
 9           5. The FAC contains largely the same factual and legal allegations as the original
10              complaint, although it has added a purported claim under California’s Private
11              Attorney General Act.
12           6. The basis of Defendant’s removal to federal court, which is the Outer
13              Continental Shelf Lands Act and the Labor Management Relations Act,
14              remains the same for the FAC.
15           7. Based on the date and method of service, the parties have agreed that
16              Defendant currently has until May 18, 2015 to file its response to the FAC.
17
18     DATED: May 4, 2015                               STRAUSS & PALAY, APC
19
                                                      By:
20                                                          /s/ Andrew C. Ellison
                                                            Michael A. Strauss
21
                                                            Andrew C. Ellison
22                                                          Attorneys for Plaintiffs and the
23
                                                            Putative Class

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                         NOTICE REGARDING FILING OF FIRST AMENDED COMPLAINT
